



 





THIS OPINION
  HAS NO PRECEDENTIAL VALUE. IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN
  ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				W. Thomas
      Miller, Appellant,
				v.
				Diane Fleming, Respondent.
			
		
	


Appeal From Richland County
&nbsp;Alison Renee Lee, Circuit Court Judge
Unpublished Opinion No.&nbsp; 2009-UP-343
Submitted June 1, 2009  Filed June 22,
  2009
Affirmed


	
		
			
				W. Thomas Miller, of Columbia, pro se, for Appellant.
				Evans T. Barnette, of Columbia, for Respondent.
			
		
	

PER CURIAM: W. Thomas
  Miller appeals the trial court's award of reasonable costs incurred by Dianne
  Fleming and Point Arcadia Horizontal Property Regime, Inc.[1] in obtaining an order compelling discovery due to Miller's refusal to answer
  any questions posed by Point Arcadia's attorney during his deposition.&nbsp; Miller
  argues no evidence supports the imposition of such sanctions.&nbsp; We
  affirm[2] pursuant to Rule 220(b)(1), SCACR, and the following authorities:&nbsp; Barnette v. Adams Bros. Logging, Inc., 355 S.C. 588, 593, 586 S.E.2d 572, 575&nbsp;(2003)
  (finding an appellate court will not disturb the trial court's imposition of
  sanctions "absent a clear abuse of discretion"); Id. (finding
  the party seeking to overturn the sanction bears the burden of demonstrating
  the trial court abused its discretion). &nbsp;
AFFIRMED.
SHORT, WILLIAMS, and LOCKEMY, JJ., concur.


[1] We note Miller initiated similar actions against both
  Fleming and Point Arcadia individually.&nbsp; The trial court consolidated the cases
  for discovery and trial, but issued two orders awarding costs.&nbsp; Miller filed
  this appeal and also appealed the order awarding costs to Point Arcadia (W.
    Thomas Miller. v. Point Arcadia Horizontal Property Regime, Inc., Op. No. 2009-UP-344 (S.C. Ct. App. Filed June 22, 2009)).&nbsp; However, Fleming and Point
  Arcadia concede they are entitled to one award of costs.
[2] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

